   Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 1 of 19




                               Exhibit 16



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 2 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                      Trenton, NJ

                                                                                  Page 1
                   UNITED STATES DISTRICT COURT

                    DISTRICT OF MASSACHUSETTS

      ---------------------------------X

      IN RE: PHARMACEUTICAL INDUSTRY     ) MDL NO. 1456

      AVERAGE WHOLESALE PRICE            ) CIVIL ACTION:

      LITIGATION                         ) 01-CV-12257-PBS

      ---------------------------------X

      THIS DOCUMENT RELATES TO           )

      ALL CLASS ACTIONS                  )

      ---------------------------------X



       VIDEOTAPED DEPOSITION OF THE NEW JERSEY DEPARTMENT

            OF HUMAN SERVICES by EDWARD J. VACCARO



            C O M P U T E R I Z E D     T R A N S C R I P T

      of the stenographic notes of the proceedings in the

      above-entitled matter as taken by and before MARY T.

      NOVAK, a Certified Shorthand Reporter and Notary

      Public of New Jersey, at the U.S. Attorney's Office,

      402 East State Street, Trenton, New Jersey on

      Tuesday, December 2, 2008 commencing at fifteen

      minutes after nine o'clock in the forenoon.




                      Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 3 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                                  Page 2
  1
                                 A P P E A R A N C E S
  2

  3
         Attorneys for United States and United States ex
  4
         rel. Ven-a-Care of the Florida Keys v. Abbott
  5
         Laboratories, Inc., Dey Labs and Roxane
  6
                         UNITED STATES DEPARTMENT OF JUSTICE
  7
                         BY: JAMIE ANN YAVELBERG, ESQ.
  8
                         Commercial Litigation Branch
  9
                         Ben Franklin Station, P.O. Box 261
 10
                         Washington, D.C. 20044
 11
                         (202) 514-6514
 12
                         jamie.yavelberg@usdoj.gov
 13

 14
         Attorney for the State of New Jersey and
 15
         Edward J. Vaccaro
 16
                         STATE OF NEW JERSEY
 17
                         BY: ZOE J. McLAUGHLIN, ESQ.,
 18
                         DEPARTMENT OF LAW & PUBLIC SAFETY
 19
                         25 Market Street
 20
                         Trenton, New Jersey            08625
 21
                         (609) 341-3689
 22
                         zoe.mclaughlin@law.dol.lps.state.nj.us

                     Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 4 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                                Page 83
  1
         wants and needs of constituents, typically,
  2
         demonstrated to the legislature through lobbying
  3
         efforts.        Inevitably, these efforts would result
  4
         in certain initiatives that we would propose
  5
         being turned down.
  6
                 Q.      And were, I think you mentioned
  7
         pharmacy associations?
  8
                 A.      Yes.
  9
                 Q.      What are the names of some of those
 10
         pharmacy associations?
 11
                 A.      Garden State Pharmacy Owners.                   New
 12
         Jersey Pharmacists Association.                    Pharma.
 13
         Pharmaceutical Manufacturers Association.                            IPA,
 14
         Independent Pharmacy Association.                     1, 2, 3, 4.
 15
         Of course, the Association of Long Term Care
 16
         Pharmacy Providers.               That's pretty well it.
 17
                 Q.      In that list there you mentioned
 18
         Pharma.       Are they a pharmacy association?
 19
                 A.      They are a manufacturer organization.
 20
                 Q.      And did they also play a role with the
 21
         general assembly in these measures?
 22
                 A.      Very large role.

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 5 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                                Page 84
  1
                 Q.      And in what way?
  2
                 A.      They had the resources to lobby.
  3
         Legislatives, representatives to discourage
  4
         passage of certain bills that would impact their
  5
         marketplace.
  6
                 Q.      And would the reimbursement rate impact
  7
         their marketplace?
  8
                 A.      Absolutely.
  9
                 Q.      And did they lobby on reimbursement
 10
         rates?
 11
                 A.      Oh, sure.         They would try to discourage
 12
         any reduction in reimbursement.
 13
                 Q.      And are there any pharmaceutical
 14
         companies located in New Jersey?
 15
                 A.      Many.
 16
                 Q.      Can you name some of them?
 17
                 A.      Merck, you're going to get me on this
 18
         one.     Merck is one.            Lily is another one.               Lily
 19
         is Annapolis.           That's not it.         The only one that
 20
         sticks in my mind is Merck.
 21
                 Q.      Is there more than one?
 22
                 A.      There's many.         At this point they're

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 6 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                                Page 89
  1
         reimbursement rate was going to be addressed by
  2
         the budget, and you were working in the budgetary
  3
         process, were you aware of any lobbying by any
  4
         entities with regard to that reimbursement rate?
  5
                 A.      It's actually a phenomenal process.
  6
         The Pharma would actually come in-house and
  7
         discuss with us their wants and needs so that we
  8
         could carry these want and needs to the
  9
         department who, of course, was in closer to the
 10
         budget process, as well the five pharmacy
 11
         associations would come in and meet with us, as
 12
         well, almost in every budget year that it would
 13
         take place.          We had a very close relationship
 14
         with Pharma and a close relationship with the
 15
         five pharmaceutical manufacturers -- five
 16
         pharmaceutical associations in New Jersey.
 17
                 Q.      And did Pharma, did any drug company
 18
         specifically apart from Pharma also meet with
 19
         you?
 20
                 A.      Sometimes they did accompany the Pharma
 21
         representative who came to the state, sure.
 22
                 Q.      And when Pharma or a drug company or a

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 7 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                                Page 90
  1
         drug association met with you or met with the
  2
         Department of Human Services, did they also
  3
         indicate to you that they were speaking with
  4
         state legislators?
  5
                 A.      Oh, absolutely.           Absolutely.         In fact,
  6
         they can identify the ones they were targeting.
  7
                         MS. YAVELBERG:           Thank you.       We'll take
  8
         a short break.
  9
                         THE VIDEOGRAPHER:           The time is now
 10
         10:33.       We're going off the video record.
 11
                                 (A recess is taken.)
 12
                         THE VIDEOGRAPHER:           The time is now
 13
         10:47.       This begins videotape number 2 of the
 14
         videotape deposition.                 You may proceed.
 15
         BY MS. YAVELBERG:
 16
                 Q.      In addition to drug ingredient cost,
 17
         Mr. Vaccaro, is there another portion of
 18
         reimbursement for pharmacy claims?
 19
                 A.      Yes.
 20
                 Q.      And what is that?
 21
                 A.      The dispensing fee.
 22
                 Q.      And what is the actual amount of the

                      Henderson Legal Services, Inc.
202-220-4158                                    www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 8 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                                Page 99
  1
         methodology consistent or inconsistent with that
  2
         policy?
  3
                 A.      Consistent with that policy.
  4
                 Q.      Does your state have, currently have
  5
         any practice or policy to pay inflated ingredient
  6
         costs in order to make up for inadequate
  7
         dispensing?
  8
                         MR. KIM:        Objection to form.
  9
                 A.      No.
 10
                 Q.      Has your state ever had a policy or
 11
         practice of paying inflated ingredient cost in
 12
         order to make up for an inadequate dispensing?
 13
                         MR. KIM:        Same objection.
 14
                 A.      No.
 15
                 Q.      Okay.      Now, I'd like to talk for a
 16
         couple of minutes about the claims processing
 17
         process.
 18
                 A.      Okay.
 19
                 Q.      You mentioned earlier that New Jersey
 20
         processed about 15,000,000 claims a year; is that
 21
         right?
 22
                 A.      Correct.

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 9 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 140
  1
         reasonable basis so New Jersey happens to be a
  2
         week.
  3
                 Q.      And if New Jersey receives a price in a
  4
         field that is not updated on a regular basis, can
  5
         it use it?
  6
                 A.      It continues as is until such time that
  7
         it's impacted by change.                So in answer to your
  8
         question, if there's a price on file and there's
  9
         no change in a particular week it stays what it
 10
         is until the next time there's an update to
 11
         change it.
 12
                 Q.      Did New Jersey, from time to time, get
 13
         mail from drug companies?
 14
                 A.      Yes.
 15
                         MS. YAVELBERG:          I'd like to mark this
 16
         next document as Exhibit 7.
 17
                                 (A letter dated January 1996 to
 18
         Edward Vaccaro on the letterhead of Dey
 19
         Laboratories is received and marked as Exhibit
 20
         Vaccaro 007 for identification.)
 21
                         MR. KIM:        Could you just state for the
 22
         record where this document came from?

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 10 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 141
  1
                         MS. YAVELBERG:          It appears to have the
  2
         Bates label on the bottom, multiple Bates labels
  3
         on the bottom.           One is Abbott.           One is Ven-a-Care
  4
         MDL.     One is R 1.          Is was produced in the
  5
         litigation.          I'm pretty sure of it.              Do you have
  6
         a question about that?
  7
                         MR. KIM:        No, I just wanted to get that
  8
         on the record.
  9
                         MS. YAVELBERG:          Okay.
 10
                 Q.      I've handed you a one page document,
 11
         Mr. Vaccaro, dated January 1996.                     It is a letter
 12
         addressed to you, Edward Vaccaro.                     It is on Dey
 13
         Laboratories letterhead.
 14
                         Do you see that there?
 15
                 A.      Yes, I to.
 16
                 Q.      Is this the kind of mail that New
 17
         Jersey would occasionally get from a drug
 18
         company?
 19
                 A.      Yes.
 20
                 Q.      Do you know whether or not New Jersey
 21
         received this particular letter?
 22
                 A.      It's Bates stamped so I assume we did.

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 11 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 142
  1
                 Q.      And did New Jersey keep these letters
  2
         on file?
  3
                 A.      Yes, we did.
  4
                 Q.      And how did you keep them on file?
  5
                 A.      By manufacturer.
  6
                 Q.      And where did you keep them on file?
  7
                 A.      In the pharmacy unit in DMAHS.
  8
                 Q.      Paper format?
  9
                 A.      Yes.
 10
                 Q.      And if we take a look at this letter
 11
         here, it's titled Addition of Products to State
 12
         Formulary for the State of New Jersey.
 13
                         Do you see that?
 14
                 A.      Yes.
 15
                 Q.      And the first line talks about
 16
         introducing an Albuterol Inhalation Aerosol.
 17
                         Do you see that there?
 18
                 A.      Yes, I do.
 19
                 Q.      If you look at the middle of the page
 20
         there's a chart.
 21
                         Do you see that?
 22
                 A.      Yes.

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 12 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 143
  1
                 Q.      And the headings on here, if you could
  2
         read each of those for me.
  3
                 A.      "NDC/Order Number, Description, Bottle
  4
         Size, Units per Carton, Cartons per Case, Average
  5
         Wholesale Price (AWP)."
  6
                 Q.      Thank you.            Are there any other fields
  7
         on this letter?
  8
                 A.      No.
  9
                 Q.      Any price information besides AWP
 10
         appear on this letter?
 11
                 A.      No.
 12
                 Q.      Now, did New Jersey receive letters
 13
         more than just this one?
 14
                         MR. KIM:        Objection.        Vague.
 15
                 Q.      Did New Jersey receive additional
 16
         letters from other drug companies?
 17
                 A.      Yes.
 18
                 Q.      May New Jersey have received additional
 19
         letters from Dey Labs?
 20
                 A.      Yes.
 21
                 Q.      About how often per year would New
 22
         Jersey receive this kind of communication from

                      Henderson Legal Services, Inc.
202-220-4158                                     www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 13 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 144
  1
         drug companies?
  2
                 A.      Probably four or five times a year.
  3
                 Q.      Combined all drug companies?
  4
                 A.      It depended upon what their marketing
  5
         strategy was in New Jersey.                  If they were
  6
         implementing a new program or they had price
  7
         changes that would generate a communication to
  8
         their customers and we were on their list as one
  9
         of their customers.
 10
                 Q.      And, now, you testified that you would
 11
         have kept these price letters that you received
 12
         in a file?
 13
                 A.      Yes.     I found out to be the only one in
 14
         the country that kept these letters.
 15
                 Q.      But what did you do with the
 16
         information that was provided in these letters?
 17
                 A.      It was intended to support any need we
 18
         might have to verify information that came over
 19
         from First DataBank.                  It never really happened,
 20
         but we felt that we had a resource of information
 21
         that if we just kept it on file we could use it
 22
         if we needed to.

                      Henderson Legal Services, Inc.
202-220-4158                                     www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 14 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 145
  1
                 Q.      So you were relying on the
  2
         representations in the letter for verification
  3
         purposes?
  4
                 A.      Yes, yes.
  5
                 Q.      Now, is it, if you receive a letter
  6
         like, you testified that, in fact, New Jersey
  7
         received this, likely received this letter
  8
         because it is date stamped and New Jersey --
  9
                 A.      Yes.
 10
                 Q.       -- in fact, received letters from
 11
         other companies as well.                Could New Jersey change
 12
         the reimbursement rate for a particular drug in
 13
         response to a letter of this type?
 14
                 A.      No.
 15
                 Q.      How would the reimbursement system
 16
         function if you adjusted reimbursement rates each
 17
         time you received a letter like this?
 18
                 A.      Chaos.
 19
                 Q.      Why?
 20
                 A.      You're processing millions of claims
 21
         and you have to determine at what point a pricing
 22
         change impacts the payment of a claim.                        So you're

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 15 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 146
  1
         sensitive to dates of service and from to dates
  2
         for the pricing change and, of course, we're not
  3
         going to know the through date for any pricing
  4
         change because that's not something that's
  5
         provided to us so it would be impossible to
  6
         process a claim.
  7
                         MR. KIM:        Do you mind if I close that
  8
         door?
  9
                         MS. YAVELBERG:          Go off the record.
 10
                         THE VIDEOGRAPHER:            The time is 11:42.
 11
         We are going off the video record.
 12
                         MR. KIM:        Do you mind if I close this?
 13
                                 (The last answer is read back by
 14
         the Reporter.)
 15
                         THE VIDEOGRAPHER:            The time is now
 16
         11:43.       We're back on the video record.
 17
         BY MS. YAVELBERG:
 18
                 Q.      Now, I'd like to turn to really the
 19
         center, the issue that's at the center of the
 20
         case.
 21
                         MR. KIM:        Objection to form.
 22
                         MS. YAVELBERG:          I'm going to hand you

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 16 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 171
  1
                 Q.      Is there a discussion about the
  2
         differences between acquisition cost and average
  3
         wholesale price in New Jersey pharmacies?
  4
                 A.      Yes.
  5
                 Q.      And what was the difference there?
  6
                 A.      Depending upon the type of drug for
  7
         generic it was 18.3 percent and for brands it
  8
         was, I'm sorry, other way around.                     For brands it
  9
         was 18.3 percent and generics was 42.5 percent.
 10
                 Q.      And what about specifically for New
 11
         Jersey?
 12
                         THE REPORTER:          I'm sorry.        18 point --
 13
                         THE WITNESS:          18.3 percent for brands.
 14
         And 42.5 percent for generics.
 15
                         That was a national estimate.                   For New
 16
         Jersey it was 19.8 percent for brand and 39.9
 17
         percent for generics.
 18
                 Q.      And we've already looked at the last
 19
         two pages of this document which represent the
 20
         New Jersey --
 21
                 A.      Right.
 22
                 Q.      -- letter in response to that report,

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 17 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 172
  1
         correct?
  2
                 A.      Correct.
  3
                 Q.      And is this, the differences between
  4
         acquisition price and average wholesale price
  5
         represented in this report, is that consistent
  6
         with what New Jersey knew at that time?
  7
                 A.      Yes.
  8
                 Q.      Now, does New Jersey have any way, have
  9
         a way of knowing from the prices that are listed
 10
         in the First DataBank database which ones might
 11
         have AWPs that are more than, for example, the
 12
         39.9 percent for generic drugs?
 13
                 A.      No.
 14
                         MR. KIM:        Objection to form.
 15
                 Q.      And which ones may not --
 16
                         MS. YAVELBERG:          I'm sorry.         What was
 17
         the objection?
 18
                         MR. KIM:        It's, first of all, vague.
 19
         Are you talking about particular drugs?
 20
                         MS. YAVELBERG:          No.     Let me try to
 21
         rephrase the question.
 22
                         MR. KIM:        Please do.

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 18 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 173
  1
                 Q.      Now, I think you testified earlier that
  2
         New Jersey used the First DataBank drug reference
  3
         file; is that correct?
  4
                 A.      Correct.
  5
                 Q.      And New Jersey covers about 50,000
  6
         drugs?
  7
                 A.      Correct.
  8
                 Q.      So based on the drug reference file
  9
         that New Jersey used for, and it did use for
 10
         reimbursement purposes; is that correct?
 11
                 A.      Correct.
 12
                 Q.      Did New Jersey have any way of knowing,
 13
         from the database that it received, which AWPs in
 14
         the database might exceed the, for example, 39.9
 15
         percent that's listed in this OIG report?
 16
                 A.      No, we did not.
 17
                 Q.      Could you tell from looking at the
 18
         database?
 19
                 A.      No.
 20
                 Q.      If a manufacturer reported inflated
 21
         prices to First DataBank --
 22
                         MR. KIM:        Objection to form.

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
          Case 1:01-cv-12257-PBS Document 6528-17 Filed 09/22/09 Page 19 of 19
NJ Dept of Human Services (Edward J Vaccaro)                            December 2, 2008
                                    Trenton, NJ

                                                                              Page 174
  1
                 Q.      -- would New Jersey be able to detect
  2
         those prices in its use of the file?
  3
                 A.      No.
  4
                         MR. KIM:        Objection to form.
  5
                 Q.      And even if you could detect these
  6
         inflated prices, did you have an alternative
  7
         source of pricing available?
  8
                         MR. KIM:        Objection to form.
  9
                 A.      No, we did not.
 10
                 Q.      Did New Jersey know that some drug
 11
         companies used the difference between acquisition
 12
         price and AWP as a marketing tool to promote
 13
         their drug over others?
 14
                         MR. KIM:        Objection to form.
 15
                 A.      We had experience with providers and
 16
         how they purchased drugs and an expectation
 17
         regarding AWP and the fact that there was an
 18
         acquisition cost involved to manufacture a
 19
         product, yes.
 20
                 Q.      Did New Jersey know that some drug
 21
         companies used the difference, the so-called
 22
         spread as a marketing tool?

                      Henderson Legal Services, Inc.
202-220-4158                                   www.hendersonlegalservices.com

                                                                     9fdaca77-07c3-4a10-b060-958ff774dfcb
